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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                    CASE No.: 1:24-cv-22167-JB

REYUANA GARDNER,

          Plaintiff,
v.

CITRUS HEALTH NETWORK, INC.
A Florida Not for Profit Corporation,

      Defendant.
_________________________/

PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

          The Plaintiff, REYUANA GARDNER, (“Plaintiff”), by and through the undersigned

counsel, and pursuant to Rule 12, Federal Rules of Civil Procedure, Responds in Opposition to

Defendant CITRUS HEALTH NETWORK, INC.’s, (“Defendant”), Motion to Dismiss previously

filed in State Court. Plaintiff states the following in support thereof;

     I.       Introduction and Relevant Facts

          1. Plaintiff was terminated from her employment with the Defendant on or about August

              4, 2020.

          2. On or about December 16, 2020, the Plaintiff submitted a Charge of Discrimination

              (“CoD”), with the Equal Employment Opportunity Commission (“EEOC”), which

              started the clock on the EEOC’s investigation into Defendant’s discriminatory actions.

          3. Approximately a year after the EEOC commenced its investigation the EEOC issued a

              Notice of Right to Sue (“NRTS”), to the Plaintiff on December 17, 2021. (See Ex. No.

              1).

          4. The EEOC stated as follows in the NRTS;


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        The EEOC issues the following determination: The EEOC will not proceed further
        with its investigation, and makes no determination about whether further
        investigation would establish violations of the statute. This does not mean the
        claims have no merit. This determination does not certify that the respondent is in
        compliance with the statutes. The EEOC makes no finding as to the merits of any
        other issues that might be construed as having been raised by this charge.

        (Ex. 1; NRTS). The notice also provides the statute of limitations period for the

filing of a lawsuit premised on the Charge of Discrimination; “Your lawsuit must be filed

WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this

charge will be lost. (The time limit for filing suit based on a claim under state law may be

different.)” (Id.)

        5. The Plaintiff timely filed her Complaint on or about December 28, 2021, and

            less than a month after receipt of the NRTS. (See DE 1 – 2, pp. 5 – 11).

        6. On or about October 6, 2023, the The Circuit Court of The Eleventh Judicial Circuit In

            And For Miami-Dade County, Florida, dismissed the Action without prejudice for

            failure to get service.

        7. Thereafter, Plaintiff moved to reopen the case and was allowed to proceed forward

            with service on Defendant. (See generally LT No. 21 – 31).

        8. In fact, on March 1, 2024, the Circuit Court Judge issued an order Re-Opening the case

            and granted Plaintiff’s Motion for Extension of Time to serve Defendant allowing 90

            days to serve Defendant from March 1, 2024.

        9. On April 2, 2024, Plaintiff successfully served Defendant perfecting service on April

            2, 2024.

        10. Defendant, rather than move to timely quash service, now claims that Plaintiff’s cannot

            show good cause for a delay in service.

        11. This argument should fail as the circuit court judge allowed for the extension of time



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            for service and Plaintiff served Defendant timely.

         12. Defendant’s claims that Plaintiff’s Complaint is time barred are without merit and

            premised on an incorrect interpretation of law.

         13. Plaintiff’s First Amended Complaint is not barred by any statute of limitations and

            further, the Plaintiff’s Complaint is sufficiently pled

         14. As such, Defendant’s argument that Plaintiff’s Amended Complaint should be

            dismissed should be denied.

         15. Defendants additional arguments based on failure to state a claim are addressed below

            and should be denied.

   II.      Argument and Incorporated Memorandum of Law

   A. Legal Standard

         When considering a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), the

Court must accept all of the complaint allegations as true, construing them in the light most

favorable to the plaintiff. Pielage v. McConnell, 516 F.3d 1282, 1284 (11th Cir. 2008). A pleading

need only contain “a short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). “[T]he pleading standard Rule 8 announces does not require detailed

factual allegations, but it demands more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotations omitted). A plaintiff must

articulate “enough facts to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at

570. “A claim has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556

U.S. at 678.




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       “The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Id. “Rule 8 marks a notable and

generous departure from the hyper-technical, code-pleading regime of a prior era, but it does not

unlock the doors of discovery for a plaintiff armed with nothing more than conclusions.” Iqbal, 556

U.S. at 679. Yet, where the allegations “possess enough heft” to suggest a plausible entitlement to

relief, the case may proceed. See Twombly, 550 U.S. at 557. “[T]he standard ‘simply calls for

enough fact to raise a reasonable expectation that discovery will reveal evidence’ of the required

element,” Rivell v. Private Health Care Sys., Inc., 520 F.3d 1308, 1309 (11th Cir. 2008) (citation

omitted), “[a]nd, of course, a well-pleaded complaint may proceed even if it strikes a savvy judge

that actual proof of those facts is improbable, and ‘that a recovery is very remote and unlikely.’”

Twombly, 550 U.S. at 556 (citation omitted).

   B. Defendant’s Motion to Dismiss should be denied because Plaintiff’s claims are not
      barred by the applicable statute of limitations.

         Plaintiff had four years to file the claim from the date of the harm and/or within 90

 days of the right to sue and both were satisfied by Plaintiff. The stated purpose of the FCRA is

 “to secure for all individuals within the state freedom from discrimination because of race,

 color, religion, sex, national origin, age, handicap, or maritalstatus.” § 760.01(2), Fla. Stat.

 (2023). The Legislature has specifically declared that the FCRA “shall be liberally construed to

 further the general purposes stated in this section.” § 760.01(3). In Joshua v. City of

 Gainesville, 768 So.2d 432 (Fla. 2000), the Florida Supreme Court explained:

         The statute’s stated purpose and statutory construction directive are modeled after
         Title VII of the Civil Rights Act of 1964. Like Title VII, chapter 760 is remedial
         and requires a liberal construction to preserve and promote access to the remedy
         intended by the Legislature. Section 760.01(2) outlines the general purposes of
         theAct which include securing freedom from discrimination for all individuals
         and preserving the general welfare of all.




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 Id. at 435 (citations omitted).

         As a prerequisite to bringing a civil action based upon an alleged violation of the FCRA,

 the claimant is required to file a complaint with the EEOC within 300 days or with the FCHR within

 365 days of the alleged violation. See § 760.11(1). Under section 760.11(3), the FCHR is then

 required to determine within 180 days whether or not reasonable cause of discrimination exists.

 Subsection (3) provides in full:

         Except as provided in subsection (2), the commission shall investigate the
         allegations in the complaint. Within 180 days of the filing of the complaint, the
         commission shall determine if there is reasonable cause to believe that
         discriminatory practice has occurred in violation of the Florida Civil Rights Act
         of1992. When the commission determines whether or not there is reasonable
         cause, the commission by registered mail shall promptly notify the aggrieved
         person andthe respondent of the reasonable cause determination, the date
         of such determination, and the options available under this section.

 § 760.11(3), Fla. Stat. (2023) (emphasis added). Here no such notice was ever provided to either

 Plaintiff or Plaintiff’s counsel as to any determination made by the commission, nor was there

 ever any notice as to the issuance of the Notice of Right to Sue by the EEOC. If the FCHR makes

 a “reasonable cause” determination, section 760.11(4) provides the claimant with two options: he

 may (1) bring a civil action or (2) request an administrative hearing. Subsection (4) provides in

 full:

         In the event that the commission determines that there is reasonable cause to
         believe that a discriminatory practice has occurred in violation of the Florida
         Civil Rights Act of 1992, the aggrieved person may either:
         (a) Bring a civil action against the person named in the complaint in any court
         of competent jurisdiction; or
         (b) Request an administrative hearing under ss. 120.569 and 120.57.
         The election by the aggrieved person of filing a civil action or requesting an
         administrative hearing under this subsection is the exclusive procedure available
         tothe aggrieved person pursuant to this act.

 § 760.11(4), Fla. Stat. (2023).




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            On the other hand, under section 760.11(7), if the FCHR makes a determination that

 there is no reasonable cause (“no cause”), the claimant may request an administrative hearing, but

 must do so within 35 days of the date of the “no cause” determination. If the request is not made

 within 35 days, the claim is barred.

            Finally, if the FCHR fails within 180 days to make a determination either way regarding

 whether reasonable cause exists, section 760.11(8) states that the claimant may proceed under

 subsection (4) as if the FCHR made a “reasonable cause” determination. Subsection (8) provides

 in full:

            In the event that the commission fails to conciliate or determine whether there is
            reasonable cause on any complaint under this section within 180 days of the filing
            of the complaint, an aggrieved person may proceed under subsection (4), as if the
            commission determined that there was reasonable cause.

 § 760.11(8), Fla. Stat.

       Here, the EEOC provided that Plaintiff could file the Complaint within 90 days of the

issuance of Notice of Right to Sue—the Plaintiff in fact filed her Complaint in less than a month’s

time from the issuance of the NRTS.


       First, Defendant asserts that a one-year statute of limitations applies for a cause of action

which accrued prior to the legislative amendment of the Florida Civil Rights Act which

substantively shortened the statute of limitations after a FCHR determination from four years to

one year. In the case of no FCHR determination at all, the statute of limitations remains the same.

Moreover, substantive legislative amendments to statutes apply prospectively only, not

retroactively to causes of action which accrued prior to the legislative amendment.




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        Second, Defendant misconstrues whether a federal EEOC “Right to Sue” is the same as a

state FCHR determination, because each entity is governed by the work-sharing agreements

between the federal and state agency. 1

    A. Plaintiff’s FCRA Claims Are Timely.

        Defendant’s argument that a one-year statute of limitations applies to FCRA claims which

accrued prior to the legislative amendment is misplaced. While Defendant relies on the 11th Circuit

affirming Henry, 2 for whatever reason, the appellant did not argue the prospective-only application

of the legislative amendment to the FCRA. There is nothing in the amendment which indicates that

the legislature intended the amendment to apply retroactively. Plaintiff’s claims arose well before

the legislature shortened the statute of limitations; therefore the four-year statute still applies. Foley

v. Morris, 339 So. 2d 215 (Fla. 1976). Generally, the question of whether a claim is barred by the

statute of limitations is best raised as an affirmative defense in the answer, rather than in a motion

to dismiss. Persaud v. Bank of Am., N.A., No. 14-21819-CIV, 2014 WL 4260853, at *11 (S.D.

Fla. Aug. 28, 2014) citing Spadaro v. City of Miramar, 855 F.Supp.2d 1317, 1328 (S.D. Fla.

2012) (citing Cabral v. City of Miami Beach, 76 So.3d 324, 326 (Fla. 3d D CA 2011)). However,

if facts on the face of the pleadings show that the statute of limitations bars the action, the defense

can be raised by motion to dismiss. Mayor's Jewelers, Inc. v. Meyrowitz, No. 12-80055-CIV,

2012 WL 2344609, at *2 (S.D. Fla. June 20, 2012) citing Cabral v. City of Miami Beach, 76 So.3d

324, 326 (Fla.Dist.Ct.App.2011); see also Tello v. Dean Witter Reynolds, Inc., 410 F.3d 1275,

1288 (11th Cir.2005) (noting that the granting of a motion to dismiss on statute of limitations

grounds is appropriate if it is apparent from the face of the complaint that the claim is time-



1
 Segura v. Hunter Douglas Fabrication Co., 184 F.Supp.2d 1227 (M.D. Fla. 2002).
2
 Henry v. Examworks Inc, 2020 WL 10647041 at *3 (M.D. Fla. Mar. 4, 2020), reconsideration denied, 2020 WL
10646845 (M.D. Fla. Apr. 30, 2020), aff'd, 2021 WL 3440698 (11th Cir. Aug. 6, 2021).


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barred). Moreover, “At the motion-to-dismiss stage, a complaint may be dismissed on the basis of a

statute-of-limitations defense only if it appears beyond a doubt that Plaintiffs can prove no set of facts

that toll the statute.” Lindley v. City of Birmingham, Ala., 515 F. App'x 813, 815 (11th Cir. 2013)

(alteration added) (quoting Tello v. Dean Witter Reynolds, Inc., 410 F.3d 1275, 1288 n. 13 (11th

Cir. 2005)). Here, there are no facts within the face of the complaint which bar the cause of action

at bar.

    B. An EEOC Dismissal and Notice of Rights On the Basis That It Was “Unable to
       Conclude” Whether A Violation Occurred Does NOT Constitute a Cause
       Determination—Reasonable or Otherwise—Under The FCRA, And Thus Such
       Claims Are Subject to Only a Four-Year Statute of Limitations.

          “First, it is important to note that a claim made under one of the civil rights statutes is not

the same cause of action as a claim made under another.” Santini v. Cleveland Clinic Florida, 843

So. 2d 1029, 1033 (Fla. 4th DCA 2003). The Santini court went on to outline the importance of

recognizing these distinctions:

          The claims arise from separate rights recognized and protected by different
          sovereigns. Andujar v. Nat'l Prop. and Cas. Underwriters, 659 So.2d 1214, 1217
          (Fla. 4th DCA 1995). Both the local and the federal agency levels apply their own
          civil rights legislation to determine, under their separate acts, whether a civil rights
          violation has occurred. Here, resolutions of both federal and local claims were based
          on the August 5, 1997 Order of Determination of the local agency.

          The claim made under the state statute is an entirely separate cause of action. The
          state's notice of any determination, as to whether reasonable cause exists for finding
          a violation of a complainant's civil rights under the Florida Civil Rights Act, must
          be provided within 180 days of the filing of the state complaint. § 760.11(3), Fla.
          Stat. If the state fails to provide timely notice within 180 days, the aggrieved person
          may proceed to Circuit Court. §§ 760.11(4),(8), Fla. Stat.

          However, the Clinic would further have us infer that the federal agency's Form 161
          provided Dr. Santini with an adequate "no cause" determination of the state claim.
          The Florida Supreme Court recently considered (after this trial judge's ruling)
          whether the federal Form 161 Dismissal and Notice of Rights received by a civil
          rights claimant satisfied the requirements of notice of a "no cause" determination
          under Florida's Civil Rights Act. In Woodham, the Court settled this issue by
          focusing on the Legislature's requirement in § 760.01(3), Fla. Stat., that the



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       protections of this statute are to be "construed according to the fair import of its
       terms and shall be liberally construed to further the general purposes stated in this
       section and the special purposes of the particular provision
       involved." Woodham, 829 So.2d at 894.

       The Supreme Court reasoned that such construction is based on the remedial
       purposes of the Florida Civil Rights Act and requires a "specific finding of lack of
       reasonable cause before an individual is stripped of her right of access to the courts
       for redress against discrimination." Id. at 896 (citing Cisko v. Phoenix Med. Prods.,
       Inc., 797 So.2d 11, 13 (Fla. 2d DCA 2001)); cf. White v. City of Pompano
       Beach, 813 So.2d 1003 (Fla. 4th DCA 2002) (federal Form 161 failed to satisfy the
       notice requirement of § 760.01(3) because the federal form did not determine if such
       reasonable cause existed.) Under this public policy purpose the Court stressed that
       "because § 760.11(7) purports to abridge an individual's right to access to the courts,
       that section must be narrowly construed in a manner that favors
       access." Woodham, 829 So.2d at 897. The Supreme Court concluded that "the
       language of § 760.11(7) requires a specific determination `that there is no reasonable
       cause' to believe a violation occurred" Id. (emphasis supplied).

       The Clinic nonetheless argues that this fact setting is different in that the federal
       agency here made an explicit "no cause" determination which the federal agency did
       not do in Woodham. But, here also the federal agency determined only that it was
       adopting the local determination that no reasonable cause existed under the Federal
       act. Significantly, neither the federal or local agency made a determination as to
       the state civil rights claim. Under the Florida Supreme Court's rationale
       in Woodham (and our holding in White) we conclude that the federal Form 161 is
       not adequate notice to Dr. Santini that her state discrimination claim had been
       determined so as to require her to file a lawsuit in state court within thirty-five days.

       Finally, we find that the federal Form 161 provided only further options under the
       federal statute and did not provide the legislatively-required due process notice
       information to Dr. Santini of the state statutory options available to her when the
       local Broward agency dismissed her complaint. As the Florida Supreme Court
       required in Woodham:
               ... the Florida Commission on Human Rights [must] inform the
               claimant of the "possible next steps that can be taken."
       Id. at 897. To hold to the contrary would be in direct conflict with and would ignore
       the statutory mandate of section 760.11(3), Florida Statutes, which requires notice
       of both the decision, and the process.

Santini, 843 So. 2d at 1033-34.

       On this analysis, it is clear that determinations issued by the EEOC are not the same as

determinations issued by the FCHR and thus do not implicate the statutory operation suggested by




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 Defendant. Notably, the Second DCA has also held as such in Jones v. Lakeland Regional Medical

 Center:

           [T]he record in this case reflects that the FCHR never entered its determination in
           the case. The trial court's order stated that the EEOC's adverse determination had the
           same effect as an adverse determination by the FCHR and, unless and until reversed
           by the FCHR, the EEOC's determination barred Jones's claim. We conclude that
           portion of the trial court's order was also error.

 805 So. 2d 940, 941 (Fla. Dist. Ct. App. 2001). The court went on to base its reasoning on language

 in the Worksharing Agreement between the EEOC and FCHR which indicated that, though these

 agencies had designated each other as agents for purposes of accepting and investigating charges

 of discrimination, each retained its own discretion with respect to issuing cause determinations. Id.

 Simply put, “[a] determination by the EEOC is not a determination by the FCHR.” Mitchell v. Palm

 Beach County School Bd., 127 So. 3d 707, 708 fn. 1 (Fla. 4th DCA 2013).

           In conclusion, the retroactive application of the legislative amendment to the case at bar is

 inappropriate. All of the facts and circumstances that formed the basis for Plaintiff’s claims for

 which he is seeking relief occurred well before the amendment and the same is true of the filing of

 Plaintiff’s Charge of Discrimination. In addition, because Plaintiff has generally pled compliance

 with conditions precedent, the burden has shifted to Defendant to deny those facts in a responsive

 pleading—not a motion to dismiss. The Court must accept Plaintiffs general allegation as true and

 it cannot consider extrinsic evidence at this stage of the case. Defendant is certainly free to raise the

 issue at any time on a motion for summary judgment or judgment on the pleadings. Lastly, even if

 the Court does consider Defendant’s arguments, the evidence and applicable precedent clearly

 demonstrates that no cause determination was made within 180 days of Plaintiff filing his Charge

 of Discrimination; and as such, the instant case which was filed within the four-year statute of




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 limitations is not subject to dismissal on the basis of timeliness.            For the foregoing reasons,

 Plaintiff respectfully asks the Court that Defendant’s motion be denied. 3



         “[A] plaintiff must timely file a charge of discrimination with the Florida Commission on

 Human Relations prior to filing suit alleging violations of the FCRA.” Curry v. Bank of Am.,

 N.A., No. 8:11-CV-1904-T-33MAP, 2012 WL 5989351, at *2–3 (M.D. Fla. Nov. 29, 2012)(citing

 Gillis v. Sports Authority, Inc., 123 F.Supp.2d 611, 615 (S.D. Fla. 2000)); Fla. Stat. Ann. §

 760.11. “In lieu of filing the complaint with the commission, a complaint under this section may

 be filed with the federal Equal Employment Opportunity Commission.” Fla. Stat. Ann. § 760.11.

 The employee’s next course of action is dictated by the FCHR’s decision. If the FHCR

 determines that there is reasonable cause to believe that a discriminatory practice has occurred,

 the employee may file a civil action or request an administrative hearing. Fla. Stat. Ann.

 760.11(4). If the FCHR determines that there is not reasonable cause to believe that a violation

 occurred, the Commission will dismiss the complaint, and the employee may request an

 administrative hearing within 35 days. Fla. Stat. Ann. 760.11(7). Failure to meet the 35-day

 deadline in the latter scenario will bar the employee’s claims. Fla. Stat. Ann. 760.11(7). Finally, if

 the FCHR fails to make a determination within 180 days, the Commission shall promptly notify

 the employee of its failure to make a determination and advise them that they may either (1) file a

 civil action within one year of the date the commission certifies that the notice was mailed, or (2)

 request an administrative hearing. Fla. Stat. Ann. 760.11(8)(b).

 The scenario at hand does not fall squarely into any of the categories enumerated in the statute.

 Here, the FCHR made no determination within the 180-day window and provided no notice of


 3
  If the Court should disagree with this response and decide to dismiss the First Amended Complaint, Plaintiff
 respectfully seeks leave to file a Second Amended Complaint.


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 Plaintiff’s right to file suit within one year or to request an administrative hearing. Plaintiff did,

 however, receive a “right to sue” letter from the EEOC which stated it was unable to conclude

 whether a violation occurred and provided notice of Plaintiff’s options for moving forward on her

 federal claims, but not her FCHR claims.

         Defendant argues Plaintiff had one year from the receipt of the EEOC letter to file suit,

 and therefore, Plaintiff’s claims are time-barred. In support thereof, Defendant cites Woodham v.

 Blue Cross & Blue Shield of Florida, Inc., 829 So.2d 891, a 2002 opinion wherein the Florida

 Supreme Court addressed an employee’s FCHR claim filed after the employee received a notice

 of dismissal and right to sue letter from the EEOC. The facts in Woodham are similar to those

 underlying the instant case in that the plaintiffs both received notices from the EEOC, rather than

 the FCHR, and the notices were received after the 180-day period. However, the court in

 Woodham was presented with a different issue. Namely, the Woodham defendant argued an

 EEOC notice constituted a ‘no cause’ determination, and therefore, plaintiff was limited to the

 administrative remedies set forth in Fla. Stat. Ann. 760.11(7). The Woodham Court rejected that

 argument, and held, “the EEOC dismissal and notice of rights form in this case does not satisfy

 the requirements of a ‘no cause’ determination under section 760.11(3) and (7).” Woodham 829

 So. 2d at 897. Therefore, “Woodham was not required to make the subsection (7) request for an

 administrative hearing within 35 days.” Id. In contrast, this Court is not presented with the issue

 of whether the plaintiff is limited to the administrative remedy which is the exclusive course of

 action for claimants who receive a ‘no cause’ determination. Instead, the question at issue is

 whether the EEOC notice – which the Florida Supreme Court has held does not constitute a ‘no

 cause’ determination – is sufficient to trigger the one-year statute of limitations period set forth in




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 Fla. Stat. Ann. 760.11(8)(b), as opposed to the four-year statute of limitations period applicable to

 general statutory violations.

        The Court should rely on the decision in Joshua in answering this question in the negative.

 In 2000, the Supreme Court of Florida issued its opinion in Joshua, holding, that when the FCHR

 fails to make any determination within the allotted 180 days, the employee’s claim is subject to

 the four-year statute of limitations period set forth in Fla. Stat. Ann. § 95.11. Joshua v. City of

 Gainesville, 768 So. 2d 432 (Fla. 2000). The Court recognizes that this case is distinguishable

 from Joshua in the sense that the Plaintiff in this matter received a notice from the EEOC, while

 there is no mention if an EEOC notice in Joshua. Nonetheless, the reasoning of the Court in

 Joshua is applicable here where the EEOC letter fails to provide notice of the specific issues

 which the statutory language requires. Specifically, the Joshua court stated, “[t]he Act

 demonstrates the Legislature's intent that one claiming a deprivation under its terms would have

 the Commission make a preliminary reasonable cause determination, notify the claimant of its

 findings, and inform the claimant of the possible next steps that can be taken.” Id. at 439

 (emphasis added). Further, in rejecting the defendant’s argument that the shorter one-year statute

 of limitations applied, the Court found that where the FCHR has failed to provide such notice,

 “[a] claimant should not be penalized for attempting to allow a government agency to do its job.”

 Id. Accordingly, holding that the Plaintiff in this matter, who received no notice of her “possible

 next steps” as specifically required by the statute, is subject to the shorter one-year statute of

 limitations period triggered by such notice, would frustrate “the legislative intent [] to uproot

 discrimination.” Id. As stated in section 760.01(3), the Florida Civil Rights Act “shall be

 construed according to the fair import of its terms and shall be liberally construed to further the




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 general purposes stated in this section and the special purposes of the particular provision

 involved.” Fla. Stat. 760.01(3).

        In White v. City of Pompano Beach, 813 So. 2d 1003, 1007 (Fla. Dist. Ct. App. 2002), the

 court held, where the plaintiff received a notice issued by the EEOC advising that the commission

 was unable to conclude whether a violation occurred, which “did not specify the options White

 had available under the Act upon dismissal of his case by the commission,” a four-year statute of

 limitations applied to White’s claims. Id.; See also Santini v. Cleveland Clinic Fla., 843 So. 2d

 1029, 1033, n. 4 (Fla. Dist. Ct. App. 2003)(holding, where the commission “fails either to

 conclude or to determine whether there is reasonable cause on any complaint,” “the aggrieved

 person then would have four years to sue under section 95.11(3)(f)”); McCarty v. Navy Fed.

 Credit Union, No. 3:20CV5988-TKW-EMT, 2021 WL 5033496, at *1 (N.D. Fla. Mar. 18,

 2021)(“The Court agrees with Plaintiff based on White v. City of Pompano Beach, in which a

 Florida appellate court squarely addressed the issue framed by Defendant's motion and held that

 an ‘unable to conclude’ determination by the EEOC does not equate to a ‘cause’ determination by

 the FCHR, so the plaintiff had four years (not one year) to file suit”); Luke v. Residential

 Elevators, Inc., No. 4:10-CV-00524-SPM, 2011 WL 311370, at *5 (N.D. Fla. Jan. 28, 2011)(“A

 plaintiff bringing a cause of action to civil court after the Commission fails to make a

 determination within 180 days must comply with a four year limitations period”).

    Accordingly, Defendant’s argument that a one-year statute of limitations applies to the

 Plaintiff’s claims should be rejected and its motion to dismiss on those grounds should be denied

 based upon the binding opinions in Joshua v. City of Gainesville, 768 So. 2d 432 (Fla. 2000),

 White v. City of Pompano Beach, 813 So. 2d 1003, 1007 (Fla. Dist. Ct. App. 2002), and Santini

 v. Cleveland Clinic Fla., 843 So. 2d 1029, 1033, n. 4 (Fla. Dist. Ct. App. 2003), and the




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 persuasive district court opinions in McCarty v. Navy Fed. Credit Union, No. 3:20CV5988-TKW-

 EMT, 2021 WL 5033496, at *1 (N.D. Fla. Mar. 18, 2021) and Luke v. Residential Elevators, Inc.,

 No. 4:10-CV-00524-SPM, 2011 WL 311370, at *5 (N.D. Fla. Jan. 28, 2011).



          Thereafter, Defendant attempts to conflate a Service of Process issue with that of a Statute

 of Limitations defense. This, however, is inappropriate, as Defendant never raised any defenses as

 to the perfected Service of Process in this matter, thereby waiving any such defenses. Defendant

 did not move to quash service, nor did Defendant do so at the court below. The pertinent rule

 reads;

          Every defense to a claim for relief in any pleading must be asserted in the
          responsive pleading if one is required. But a party may assert the following
          defenses by motion:
                 (1) lack of subject-matter jurisdiction;
                 (2) lack of personal jurisdiction;
                 (3) improper venue;
                 (4) insufficient process;
                 (5) insufficient service of process;
                 (6) failure to state a claim upon which relief can be granted; and
                 (7) failure to join a party under Rule 19.
          A motion asserting any of these defenses must be made before pleading if a
          responsive pleading is allowed.

 R. 12(b), F. R. Civ. P. (2024). Because the Defendant has failed to move to quash process

 the Defendant’s claim that Plaintiff has failed to show good cause to have extensions of

 time at the court below to serve process and file Amended Pleadings, are unauthorized.

 The Circuit Court found for Plaintiff in allowing Plaintiff to proceed litigating the matter

 and in extending the pertinent deadlines for Plaintiff to effectuate process. Defendant

 merely attempts to revive a defense it failed to timely raise and override the will of the

 court below in doing so, as any such defense at this time related to the effectuated service

 of process is akin to an appeal of the decisions of the court below.



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      C. Defendant’s Motion to Dismiss should be denied because the Plaintiff has properly
         pled causes of action for race and color discrimination and retaliation .

           The United States Court of Appeals for the Eleventh Circuit has stressed that courts should

 avoid a strict formulation of the elements of a prima facie case. See Carter v. City of Miami, 870

 F.2d 578, 583 (11th Cir.1989). “In order to prove discriminatory treatment in violation of Title VII,

 a plaintiff must first establish a prima facie case of discrimination.” Coutu v. Martin County Bd. of

 County Comm'rs, 47 F.3d 1068, 1073 (11th Cir.1995) 4.

           Absent direct evidence of discrimination, a plaintiff can establish a prima facie case by

 showing that: (1) she is a member of a protected class; (2) she was subject to an adverse

 employment action; (3) she was qualified for the position held; (4) and she was replaced or

 treated less favorably than someone similarly situated outside of his protected class. See Knight v.

 Baptist Hosp. of Miami, Inc., 330 F.3d 1313, 1316 (11th Cir. 2003).

           As more fully described above, Plaintiff provides all of her protected classes in paragraphs

 no 11-21 of Plaintiff’s First Amended Complaint. Plaintiff provides elements of her claims with

 sufficiency. Plaintiff provides several adverse employment actions taken against the Plaintiff;

 Here it is clear Plaintiff provides sufficient adverse employment actions suffered as a result of her

 protected classes, including termination within just two months of her complaints about

 discrimination all of which affected Plaintiff’s terms of employment.

           The Circuit court granted the extension of time for service of the complaint and any

 amendment to the complaint would relate back to the original date of the filing of the complaint. If




 4
  Florida courts have held that decisions construing Title VII are applicable when considering claims under the Florida Civil Rights
 Act, because the Florida act was patterned after Title VII. See Ranger Ins. Co. v. Bal Harbour Club, Inc., 549 So.2d 1005, 1009
 (Fla.1989); Florida State Univ. v. Sondel, 685 So.2d 923, 925 n. 1 (Fla. 1d DCA 1996); Gray v. Russell Corp., 681 So.2d 310, 312
 (Fla.Dist.Ct.App.1996); see also Paris v. City of Coral Gables, 951 F.Supp. 1584, 1585 (S.D.Fla. 1995); Kelly v. K.D. Construction of
 Fla., Inc., 866 F.Supp. 1406, 1411 (S.D.Fla. 1994).


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 the court disagrees, Plaintiff requests the court allow Plaintiff to amend the complaint which would

 relate back to the original filing under Rule 15.

           Plaintiff stated a claim under both FCRA and 42 USC Section 1981, see Amended

 Complaint paragraphs 11-19 providing clear facts of discrimination from a supervisor and

 comparator evidence and even direct evidence of discrimination.

           Plaintiff claims retaliation under FCRA and Section 1981 in paragraphs 20 and 21 claiming

 she complained about race discrimination and fired shortly thereafter. The temporal proximity in

 time is so close, Plaintiff shows a reasonable inference that the complaint caused the termination

 pleading a clear causal connection between the protected activity and her termination.

    III.      Conclusion

           The Plaintiff, REYUANA GARDNER, in this matter has meritorious claims that should

 be adjudicated on the merits, and respectfully requests that this Honorable Court Deny

 Defendant’s Motion to Dismiss, and Grant any other relief this Honorable Court deems just and

 proper.

     Dated: July 12, 2024                                 Respectfully submitted,

                                                             /S/ Jason Remer_______
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 12, 2024, I electronically filed the foregoing document

  with the CM/ECF E-Filing Portal. I also certify that the foregoing document isbeing served this

  day on all counsel of record or pro se parties, either via electronic transmission of Notices

  generated by the CM/ECF E-Filing Portal or in some other authorized manner for those counsel

  or parties who are not authorized to receive such Notices.

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